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                        23-1045
                        23-1146
                 United States Court of Appeals
                    For the Second Circuit
             ____________________________________________

                            E. JEAN CARROLL,
                                                Plaintiff/Appellee,
                                  -against-


                            DONALD J. TRUMP,
                                               Defendant/Appellant.
______________________________________________________________________________
 DECLARATION OF MICHAEL T. MADAIO, ESQ. IN SUPPORT OF DEFENDANT-
    APPELLANT’S EMERGENCY MOTION FOR A STAY PENDING APPEAL



                                   MICHAEL T MADAIO, ESQ.
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                                             DECLARATION

       I, Michael T. Madaio, declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that

the following is true and correct:

       1.      I am counsel for the defendant-appellant, Donald J. Trump (“Defendant-

Appellant”). I submit this declaration in support of Defendant-Appellant’s emergency motion for

a stay pending appeal.

       2.      The following documents are attached as exhibits to this declaration:

               A.        Exhibit A: Plaintiff-Appellant’s State Court Complaint;

               B.        Exhibit B: District Court Docket;

               C.        Exhibit C: Westfall Act Certification;

               D.        Exhibit D: April 21, 2023 Order Remanding Westfall Act Appeal;

               E.        Exhibit E: Defendant-Appellant’s December 22, 2022 Motion for
                         Summary Judgment;

               F.        Exhibit F. Defendant-Appellant’s January 19, 2023 Memorandum of Law
                         in Further Support of Motion for Summary Judgment

               G.        Exhibit G: July 5, 2023 Order Denying Summary Judgment;

               H.        Exhibit H: Notice of Appeal of July 5, 2023 Order Denying Summary
                         Judgment;

               I.        Exhibit I: Plaintiff-Appellee’s Amended Complaint;

               J.        Exhibit J: June 13, 2023 Order Granting Plaintiff-Appellee Leave to
                         Amend;

               K.        Exhibit K: Defendant-Appellant’s Answer to the Amended Complaint;

               L.        Exhibit L: August 7, 2023 Order Striking Presidential Immunity Defense;

               M:        Exhibit M: Notice of Instant Appeal;

               N.        Exhibit N: August 18, 2023 Order Denying Stay Pending Litigation:

               O.        Exhibit O: Email Correspondence to Counsel for Plaintiff-Appellee E. Jean
                         Carroll (“Plaintiff-Appellee”);

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               P:      Exhibit P: Order Consolidating Appeals.

       3.      On August 18, 2023, I contacted counsel for the plaintiff-appellee, E. Jean Carroll

(“Plaintiff-Appellee”) by e-mail, to advise that Defendant-Appellee would be filing an emergent

motion for a stay and inquired as to whether they consented to or opposed the relief sought.

Counsel advised that they intended to oppose Defendant-Appellant’s request for a stay. See

Exhibit O.

       4.      In addition, I have also had communications with Plaintiff-Appellee’s counsel

regarding the briefing schedule for the instant motion, and the parties intend to jointly submit a

proposed schedule to this Court with mutually agreeable filing deadlines.

       5.      In accordance with Local Rule 27.1(d)(1), I contacted the Clerk of the Second

Circuit on August 23, 2023, via telephone, to advise of the instant application. I was unable to

reach the Clerk and left a voicemail notifying of the intent to file the instant motion.

       6.      This request is urgent and time-sensitive, and emergent relief is necessary, due to

the upcoming trial in the underlying action which is currently scheduled to commence on January

15, 2024. Since this appeal goes directly to Defendant-Appellant’s immunity from suit

altogether—a particular concern for prominent political figures such as Defendant-Appellant—a

decision applying such immunity after Defendant-Appellant is forced to stand trial will render his

presidential immunity defense moot. In such a scenario, the defense will be forever lost and

Defendant-Appellant will be irreparably harmed.

       7.      Defendant-Appellant respectfully submits that his right to the requested relief will

be irreparably lost if this Court does not grant a stay.

       8.      For the reasons explained in the attached Memorandum of Law, and pursuant to

Local Rule 27.1(d)(4), Defendant-Appellant respectfully requests that the Court enter an



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emergency stay pending appeal of all proceedings and deadlines before the District Court, as the

case should not proceed without resolution as to the question of presidential immunity.

       9.      Given the emergent nature of Defendant-Appellant’s request for a stay, Defendant-

Appellant requests a return date of September 22, 2023, or as soon as is otherwise practicable.

Dated: August 24, 2023
                                                    Respectfully submitted,

                                                    s/ Michael T. Madaio                  .
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